Case 1:21-cr-00109-TJK Document 17-1 Filed 08/09/21 Page 1 of 4
        Case 1:21-cr-00109-TJK Document 17-1 Filed 08/09/21 Page 2 of 4




 Twitter Preservation Request -
tqpham007@yahoo.com                               266T-HO-3371043_0000004.pdf
                                                  266T-HO-
Twitter Preservation Request.pdf                  3371043_0000004_Import_redacted.pdf
                                                  266T-HO-
PHAM Twitter Preservation Confirmation.pdf        3371043_0000004_1A0000002_0000001.pdf
 Faceboook Preservation Request -
tam.phamquang.p                                   266T-HO-3371043_0000005.pdf

PHAM Facebook Preservation Confirmation.pdf       266T-HO-3371043_0000005_Import.pdf

Tam Dinh Pham NCIC                                266T-HO-3371043_0000006.pdf

Tam Dinh Pham NCIC.pdf                            266T-HO-3371043_0000006_Import.pdf

Tam Dinh Pham CLEAR                               266T-HO-3371043_0000007.pdf

Tam Pham CLEAR.pdf                                266T-HO-3371043_0000007_Import.pdf
 LinkedIn Preservation Request -
tqpham007@yahoo.com                               266T-HO-3371043_0000008.pdf
                                                  266T-HO-
LinkedIn Preservation Request.pdf                 3371043_0000008_Import_redacted.pdf

Complaint & Arrest Warrant - Tam Dinh Pham        266T-HO-3371043_0000010.pdf
                                                  266T-HO-
SIGNED__21-mj-116_Pham_Warrant.pdf                3371043_0000010_1A0000003_0000001.pdf
                                                  266T-HO-
SIGNED__21-mj-116_Pham_Complaint.pdf              3371043_0000010_1A0000003_0000002.pdf
                                                  266T-HO-
SIGNED__21-mj-116_Pham_SOF.pdf                    3371043_0000010_1A0000003_0000003.pdf
                                                  266T-HO-
SIGNED_21-mj-116_Pham_Complaint_Redacted.pdf      3371043_0000010_1A0000003_0000004.pdf

Receipt of Capitol Police Video                   266T-HO-3371043_0000020.pdf
0960 USC 02 Rotunda North (1_6_2021 2_47_51       266T-HO-
PM EST).png                                       3371043_0000020_1A0000004_0000001.png
0959 USC 02 Rotunda South (1_6_2021 2_48_08       266T-HO-
PM EST).png                                       3371043_0000020_1A0000004_0000002.png


                                              2
         Case 1:21-cr-00109-TJK Document 17-1 Filed 08/09/21 Page 3 of 4




 Arrest of Tam Pham                                   266T-HO-3371043_0000011.pdf
                                                      266T-HO-
 SIGNED__21-mj-116_Pham_Complaint.pdf                 3371043_0000011_1A0000002_0000001.pdf
                                                      266T-HO-
 SIGNED__21-mj-116_Pham_Warrant.pdf                   3371043_0000011_1A0000002_0000002.pdf
                                                      266T-HO-
 SIGNED_21-mj-116_Pham_Complaint_Redacted.pdf         3371043_0000011_1A0000002_0000003.pdf
                                                      266T-HO-
 SIGNED__21-mj-116_Pham_SOF.pdf                       3371043_0000011_1A0000002_0000004.pdf

 Pham Consent to Search and Property Receipts         266T-HO-3371043_0000012.pdf
                                                      266T-HO-
 Pham Consent and Receipt.pdf                         3371043_0000012_1A0000003_0000001.pdf

 Review of PHAM's Apple iPhone                        266T-HO-3371043_0000014.pdf
                                                      266T-HO-
 Report.docx                                          3371043_0000014_1A0000004_0000001.docx

 Late Justification 266T-HO-3371043                   266T-HO-3371043_0000015.pdf
                                                      266T-HO-
 LateJust.rtf                                         3371043_0000015_Import_redacted.rtf

 DIGITAL EVIDENCE FROM RCFL CELL PHONE KIOSK          266T-HO-3371043_0000016.pdf

 Submit Capitol Police Video to File                  266T-HO-3371043_0000017.pdf

 Information Filed 2-10-21                            266T-HO-3371043_0000018.pdf
                                                      266T-HO-
 Pham Information.pdf                                 3371043_0000018_1A0000005_0000001.pdf


        Due to the extraordinary nature of the January 6, 2021 Capitol Attack, the government
anticipates that a large volume of materials may contain information relevant to this prosecution.
These materials may include, but are not limited to, surveillance video, statements of similarly
situated defendants, forensic searches of electronic devices and social media accounts of
similarly situated defendants, and citizen tips. The government is working to develop a system
that will facilitate access to these materials. In the meantime, please let me know if there are any
categories of information that you believe are particularly relevant to your client.


                                                 3
         Case 1:21-cr-00109-TJK Document 17-1 Filed 08/09/21 Page 4 of 4




         I recognize the government’s discovery obligations under Brady v. Maryland, 373 U.S.
83 (1963), its progeny, and Rule 16. I will provide timely disclosure if any such material comes
to light. Consistent with Giglio, Ruiz, and 18 U.S.C. § 3500, I will provide information about
government witnesses prior to trial and in compliance with the court’s trial management order.

        I request reciprocal discovery to the fullest extent provided by Rule 16 of the Federal
Rules of Criminal Procedure, including results or reports of any physical or mental examinations,
or scientific tests or experiments, and any expert witness summaries. I also request that
defendant(s) disclose prior statements of any witnesses defendant(s) intends to call to testify at
any hearing or trial. See Fed. R. Crim. P. 26.2; United States v. Nobles, 422 U.S. 255 (1975). I
request that such material be provided on the same basis upon which the government will
provide defendant(s) with materials relating to government witnesses.

        Additionally, pursuant to Federal Rules of Criminal Procedure 12.1, 12.2, and 12.3, I
request that defendant(s) provide the government with the appropriate written notice if
defendant(s) plans to use one of the defenses referenced in those rules. Please provide any notice
within the time period required by the Rules or allowed by the Court for the filing of any pretrial
motions.

        I will forward additional discovery as it becomes available. If you have any questions,
please feel free to contact me.

                                                     Sincerely,

                                                     /s/ Alison B. Prout
                                                     Alison B. Prout
                                                     Assistant United States Attorney




                                                4
